
987 A.2d 1143 (2010)
In re Shelley A. STASSON, Respondent.
No. 09-BG-1313.
District of Columbia Court of Appeals.
January 28, 2010.
Before REID, Associate Judge; and SCHWELB and KING, Senior Judges.


*1144 ORDER
PER CURIAM.
On consideration of the order of the Michigan Attorney Discipline Board suspending respondent for a period of four years, with reinstatement conditioned on respondent's showing of fitness to practice law, and directing payment of restitution and costs, see Grievance Administrator, Attorney Grievance Comm'n v. Stasson, no. 07-165-GA (March 20, 2009), this court's November 18, 2009, order that suspended respondent from the practice of law pending action of the court and directed her to show cause why identical reciprocal discipline should not be imposed, the Statement of Bar Counsel recommending reciprocal and identical discipline be imposed, and it appearing that respondent has failed to respond or file the affidavit required by D.C. Bar R. XI, § 14(g), it is
ORDERED that Shelley A. Stasson is hereby suspended from the practice of law in the District of Columbia for a period of four years with reinstatement conditioned on proof of fitness. See e.g., In re Pelkey, 962 A.2d 268 (D.C.2008); In re Meaden, 902 A.2d 802 (D.C.2006). Reinstatement is also conditioned upon satisfaction of the conditions imposed in Michigan. It is
FURTHER ORDERED that, for purposes of reinstatement, respondent's suspension will begin upon the filing of an affidavit in compliance with D.C. Bar R. XI, § 14(g).
